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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 17-61464-civ-Dimitrouleas/Snow

     ALFRED CLARK, JR.,
     JASON ADOLPHUS DAVIDS,

                    Plaintiffs,
     v.

     NATIONWIDE HVAC CORP,
     ARSEN GRITSENKO,
     LUKASZ KOZOWY,

                 Defendants.
     __________________________________/

          PLAINTIFFS’ RESPONSE TO THE COURT’S ORDER TO SHOW CAUSE

            Plaintiffs, Alfred Clark, Jr. and Jason Adolphus Davids, respond to the Courts’

     Order to Show Cause [DE 9], as follows:

     1.     Plaintiffs have been working to serve the corporate defendant through the Florida

     Secretary of State.

     2.     Due to a calendaring and computer error, the service date was inadvertently not

     calendared.

     3.     Throughout Plaintiffs’ repeated efforts to serve Defendants, Defendants have

     actively and intentionally evaded service.

     4.     Plaintiffs have filed their Notice of Filing New Summons [DE 10] to comply with

     the Secretary of State’s requirement that defendants served through the Secretary of State

     be served c/o the Secretary of State.




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            WHEREFORE, Plaintiffs respectfully request 60 days to serve the individual

     defendants and to effectuate service on Defendant Nationwide HVAC Corp through service

     on the Florida Secretary of State.

                                                 Respectfully submitted,

                                                 Koz Law, P.A.
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                                                 Elliot Kozolchyk, Esq.
                                                 Bar No.: 74791

                                  CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing was
     electronically filed on February 5, 2018 with the Clerk of Court using CM/ECF along with
     having served all counsel of record or pro se parties identified on the service list
     incorporated herein in the manner specified, either via transmission of Electronic filing
     generated by CM/ECF or in some other authorized manner for those counsel or parties not
     authorized to receive electronically Notice of Electronic Filing.




                                                 Elliot Kozolchyk, Esq.


                                          SERVICE LIST

            Defendants have not yet appeared in this case.




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